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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
                v.                          :      Case No.: 1:23-cr-00108-TSC
                                            :
MICHAEL JOHN DILLON,                        :
                                            :
       Defendant.                           :

                      GOVERNMENT’S OPPOSITION TO DEFENDANTS’
                     MOTION IN LIMINE REGARDING MISTAKE OF LAW

       The United States of America respectfully submits this opposition to Defendant

Michael John Dillon’s motion regarding mistake of law (ECF No. 35). Defendant’s purported

motion in limine does not move this Court for any relief, only asserting that that “Dillon has a

right to present evidence supporting this defense.”     ECF No. 35 at 2.       The government

incorporates by reference its motion in limine to preclude certain improper defense arguments

(ECF No. 40).
.                                           Respectfully submitted,

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                                    By:      /s/ John Oxenreiter
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